                      UNITED STATES BANKRUPTCY COURT
                       EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
In re:

Gates, Angla L.                                               Case No. 18-47902-MBM
                                                              Chapter 7
     Debtor.                                                  Hon. Marci B. McIvor
_________________________________/

Wendy Turner Lewis, Chapter 7 Trustee,                        Adv. Proc. No. 19-

         Plaintiff,
vs.

Craig E. Gates,

     Defendant.
_________________________________/


                      COMPLAINT TO SELL REAL PROPERTY

         NOW COMES Plaintiff, Wendy Turner Lewis, Chapter 7 Trustee, by and

through the undersigned attorneys, DAKMAK PEURACH, P.C., and for this

Complaint to sell real property pursuant to 11 USC §363(h) against the Defendant

states as follows:

                                COMMON ALLEGATIONS

         1.     Plaintiff, Wendy Turner Lewis, is the duly appointed and acting Trustee

                in the underlying bankruptcy case, which was filed by Debtor Angla L.

                Gates under Chapter 7 of the United States Bankruptcy Code on or about

                May 31, 2018.



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  2.   This Court has subject matter jurisdiction of this adversary proceeding

       pursuant to 28 USC §1334.

  3.   This adversary proceeding is a core proceeding pursuant to 28 USC

       §157(b)(2)(N).

  4.   The venue of this adversary proceeding is proper in this Court pursuant

       to 28 USC §1409.

  5.   The Plaintiff has authority to bring this action pursuant to 11 USC §363

       and Bankruptcy Rule 7001.

  6.   The Debtor and the Defendant are joint owners of the real property

       commonly known as 20320 Alger, Saint Clair Shores, MI                 48080

       (hereinafter, the “Real Property”) and having the following legal

       description:

       LAND SITUATED         IN   SAINT    CLAIR    SHORES.    MACOMB     COUNTY,
       MICHIGAN

               THE WESTERLY 14 FEET OF LOT 386 AND ALL OF LOT 387
               OF DALBY AND CAMPBELL'S MACK AVE SUBDIVISION NO. 1,
               ACCORDING TO THE PLAT THEREOF RECORDED IN LIBER 9
               OF PLATS, PAGE(S) 57 OF MACOMB COUNTY RECORDS.

       Commonly known as: 20320 ALGER, SAINT CLAIR SHORES, Ml
       48080

       Tax Parcel Number: 14-33-254-009

  7.   The Real Property is scheduled on the Debtor’s Amended Bankruptcy

       Schedules at Schedule A with a stated value $130,000.00.



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  8.    The Real Property is included among the property of the bankruptcy

        estate pursuant to 11 USC §541.

                   COUNT I – SALE OF REAL PROPERTY
                      PURSUANT TO 11 USC §363(h)

  9.    Plaintiff incorporates by reference paragraphs 1 through 8 above.

  10.   The Real Property has a market value of approximately $145,000.00 and

        is owned by the Debtor and the Defendant as husband and wife.

  11.   Pursuant to 11 USC §363(h), the Trustee may sell both the estate’s

        interest and the interest of any co-owner in property if --

                (1)    partition in kind of such property among the estate and
                       such co-owners is impracticable;
                (2)    sale of the estate’s undivided interest in such property
                       would realize significantly less for the estate than sale of
                       such property free of the interests of such co-owners;
                (3)    the benefit to the estate of a sale of such property free of
                       the interests of co-owners outweighs the detriment, if any,
                       to such co-owners; and,
                (4)    such property is not used in the production, transmission,
                       or distribution, for sale, of electric energy or of natural or
                       synthetic gas for heat, light, or power.

  12.   Upon information and belief, partition of the Real Property is

        impracticable because it is a single family residence.



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      13.   A sale of the bankruptcy estate’s undivided interest in the Real Property

            will realize significantly less for the estate than a sale of the Real

            Property free of the interests of the Defendant.

      14.   The benefit to the bankruptcy estate of the proposed sale of the Real

            Property free of the interests of the Defendant outweighs any detriment

            to the Defendant.

      15.   The Real Property is not used in the production, transmission, or

            distribution, for sale, of any form of energy.

      16.   Pursuant to § 363(j), “[a]fter a sale of property to which subsection (g)

            or (h) of this section applies, the trustee shall distribute to the […] co-

            owners of such property […] and to the estate, the proceeds of such sale,

            less the costs and expenses, not including any compensation of the

            trustee, of such sale, according to the interests of such […] co-owners,

            and of the estate.” 11 USC §363(j).

      WHEREFORE, Plaintiff, Wendy Turner Lewis, Chapter 7 Trustee

respectfully requests that this Honorable Court enter a Judgment authorizing her to

sell the 20320 Alger, Saint Clair Shores, MI 48080 property over and above the

interests of the Defendant pursuant to 11 USC §363(h) and after such sale to

distribute to the Defendant such proceeds as may be required by 11 USC §363(j).

The Plaintiff further requests that the Judgment entered in this Adversary Proceeding


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authorize the Plaintiff to act as the Defendant's attorney in fact with respect to the

execution of such documents that are necessary for the Plaintiff to sell the Real

Property. The Plaintiff further requests that the Court grant any such further relief

that is just and proper.

                                        Respectfully submitted,

                                        DAKMAK PEURACH, P.C.

                                        /s/ James J. Tocco
                                  By:
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